         Case 2:14-cr-00315-JCM-VCF           Document 53       Filed 06/13/16     Page 1 of 2




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 7

 8                     UNITED STATES DISTRICT COURT
                            DISTRICT OF NEVADA
 9                                               -oOo-
10
     UNITED STATES OF AMERICA,                  ) Case No.: 2:14-cr-00315-JCM-VCF
11                                              )
                   Plaintiff,                   ) GOVERNMENT’S UNOPPOSED MOTION
                                                ) FOR ADDITIONAL TIME WITHIN WHICH
12                                              ) TO RESPOND TO DEFENDANT
           vs.                                  ) RAWSTERN’S MOTION FOR
13                                              ) SEVERANCE
     TERRY RAWSTERN,                            )
14                                              )
                                                )
15                 Defendant.                   )
                                                )
16

17          The United States, by and through its undersigned counsel, hereby files its Unopposed

18   Motion for Additional Time Within Which to Respond to Defendant Rawstern’s Motion for

19   Severance.

20                                           Background

21          Defendant Terry Rawstern filed a Motion to Sever for Improper Joinder (Dock. # 48) on

22   May 24, 2016. Defendant Buckhannon filed a Motion for Joinder to Rawstern’s motion to

23   sever on June 9, 2016 (Dock. # 49). The Government’s response to Defendant Rawstern’s

24   motion is due on June 10, 2016.
         Case 2:14-cr-00315-JCM-VCF           Document 53       Filed 06/13/16     Page 2 of 2




 1          Counsel for the Government, AUSA Kathryn Newman, inherited roughly 100 new cases

 2   on June 1, 2016, following the retirement of a colleague. AUSA Newman spoke with counsel

 3   for Defendant Rawstern, AFPD Nisha Brooks-Whittington, and requested an additional seven

 4   days within which to respond to Defendant Rawstern’s motion. AFPD Brooks-Whittington

 5   agreed to the short continuance.

 6                                            Conclusion

 7          For the foregoing reasons, the Government respectfully requests that the Court allow the

 8   Government an additional seven days within which to respond to Defendant Rawstern’s Motion

 9   to Sever.

10          Date: June 10, 2016

11

12                                                      Respectfully submitted,

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14                                                      DANIEL G. BOGDEN
                                                        United States Attorney
15
                                                        /s/ Kathryn C. Newman
16                                                      KATHRYN NEWMAN
                                                        Assistant United States Attorney
17

18

19                                              ORDER
                                   13th             June
20          IT IS SO ORDERED this ________ day of _______________________, 2016.

21
             IT IS HEREBY ORDERED THAT that
22           Government's response must be filed
             on or before June 20, 2016.                _________________________________
23                                                      Cam Ferenbach
                                                        United States Magistate Judge
24

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